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                             Appendix A: Statements of Opinion Not Actionable

State          Authority
Alabama        Russell v. Wilson, 991 So. 2d 745, 748 (Ala. Civ. App. 2008) (Alabama) (“[A] buyer must demonstrate that
               a seller’s statements as to the condition of the property were representations of fact and not mere statements
               of opinion amounting to nothing more than sales talk or mere puffery.”).
Arizona        Cheatham v. ADT Corp., 161 F. Supp. 3d 815, 827 (D. Ariz. 2016) (“a statement that is quantifiable, that
               makes a claim as to the ‘specific or absolute characteristics of a product,’ may be an actionable statement of
               fact while a general, subjective claim about a product is non-actionable puffery.”).
California     Elias v. Hewlett-Packard Co., 903 F. Supp. 2d 843, 854–55 (N.D. Cal. 2012) (“Generalized, vague, and
               unspecified assertions constitute ‘mere puffery’ upon which a reasonable consumer could not rely, and
               hence are not actionable.”).
Colorado       Park Rise Homeowners Ass’n, Inc. v. Res. Const. Co., 155 P.3d 427, 436 (Colo. App. 2006) (under Colorado
               law, puffery “represents a statement of opinion, the meaning of which would depend on the speaker's frame
               of reference, such as mass produced housing versus a custom built home. It is not a specific representation
               of fact subject to measure or calibration.”)
Connecticut    NetScout Systems, Inc. v. Gartner, Inc., 334 Conn. 396, 424 & n.15(2020) (explaining that “nonactionable
               puffery” is “an exaggeration or overstatement expressed in broad, vague, and commendatory language” and
               that “advertising that speaks generically to caliber of defendant’ product is ‘classic puffery’ and incapable of
               being proved true or false”)
Delaware       Solow v. Aspect Res., LLC, 2004 WL 2694916, at *3 (Del. Ch. Oct. 19, 2004) (“[T]o the extent that plaintiff
               is arguing that any statements of opinion rise to the level of a fraudulent representation, statements such as,
               ‘Aspect has the skills, experience, and resources to successfully and quickly capitalize on the 3D
               opportunity,’ are mere puffery and cannot form the basis for a fraud claim.” (footnotes omitted)).
Florida        Fineman v. Ferragamo USA Inc., 2023 WL 3778264, at *7 (S.D. Fla. May 12, 2023) (“At best, the
               statements on which Plaintiffs rely for their FDUTPA claim provide an opinion . . . which cannot be
               affirmatively proven or disproven. Courts in this district routinely determine that highly subjective
               statements like the ones at issue here amount to nonactionable puffery.”).
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Georgia      Villalobos v. Atlanta Motorsports Sales, LLC, 355 Ga. App. 339, 346 & n.1 (2020) (affirming judgment on
             the pleadings on Georgia Fair Business Practices Act claim after concluding buyer could not have
             justifiably relied on alleged oral misrepresentations made by seller's salesperson which amounted to
             nonactionable opinion and “puffery”)
Hawaii       Ludlow v. Lowe’s Companies, Inc., 2014 WL 12580233, at *12 (D. Haw. Jan. 17, 2014) (“Thus, a statement
             that is quantifiable, that makes a claim as to the ‘specific or absolute characteristics of a product,’ may be an
             actionable statement of fact while a general, subjective claim about a product is non-actionable puffery.”).
Indiana      Kesling v. Hubler Nissan, Inc., 997 N.E.2d 327, 333 (Ind. 2013) (“puffery consists of ‘empty superlatives
             on which no reasonable person would rely,’ or ‘meaningless sales patter...’”) (citing All–Tech Telecom, Inc.
             v. Amway Corp., 174 F.3d 862, 868 (7th Cir. 1999)).
Iowa         Adrian Trucking, Inc. v. Navistar, Inc., 609 F. Supp. 3d 728, 750 (N.D. Iowa 2022) (unactionable puffery
             occurs when a statement is not specific and measurable, and cannot be reasonably interpreted as providing a
             benchmark by which the veracity of the statement can be ascertained).
Illinois     Castaneda v. Amazon.com, Inc., --- F. Supp. 3d ---, 2023 WL 4181275, at *7 (N.D. Ill. June 26, 2023)
             (statements that are “not objectively verifiable” are not actionable).
Kansas       Ormsby v. Imhoff & Assocs, P.C., 2014 WL 4248264, at *10 (D. Kan. Aug. 27, 2014) (statements which are
             “subjective in nature and non-specific" are “innocent puffing” and “not actionable”) (citing Baldwin v.
             Priem’s Pride Motel, 580 P.2d 1326 (Kan. 1978)).

Kentucky     Naiser v. Unilever U.S., Inc., 975 F. Supp. 2d 727, 734 (W.D. Ky. 2013) (seller who “states an opinion or
             expresses a judgment about a thing as to which [both the buyer and seller] may each be expected to have an
             opinion and exercise a judgment” is not liable).
Louisiana    Dyson, Inc. v. Oreck Corp., 2009 WL 537074, at *6 (E.D. La. Mar. 4, 2009) (“Puffery is a non-actionable
             statement of general opinion that comes in two forms: ‘(1) an exaggerated, blustering, and boasting
             statement upon which no reasonable buyer would be justified in relying; or (2) a general claim of
             superiority over comparable products that is so vague that it can be understood as nothing more than a mere
             expression of opinion.’”).
Maine        State v. McLaughlin, 235 A.3d 854, 859 (Me. 2020) (considering whether Defendant's “initial
             representations about his ability to complete the work were mere ‘puffery,’ exaggerating or overselling his
             ability to convince the victims to hire him,” but noting that the record evidence was sufficient to support the
             jury’s verdict irrespective of any puffery).
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Maryland          Singh v. Lenovo (United States) Inc., 510 F. Supp.3d 310, 330 (D. Md. 2021) (“A statement is considered
                  non-actionable puffery if a claim is ‘extremely unlikely to induce consumer reliance,’ while ‘quantifiable’
                  statements and ‘misdescriptions of specific or absolute characteristics of a product’ are actionable.”
                  (internal citations omitted)).
Massachusetts     Valley Children’s Hosp. v. Athenahealth, Inc., 2023 WL 6065800, at *5 (D. Mass. Sept. 18, 2023)
                  (Statements that are “too vague and immaterial” are non actionable puffery).
Michigan          Mahindra & Mahindra Ltd. v. FCA US LLC, 2021 WL 323253, at *5 (E.D. Mich. Feb. 1, 2021)
                  (Unactionable puffery occurs when vague phrases are “nothing more than a mere expression of opinion”).
Minnesota         Song v. Champion Petfoods USA, Inc., 2020 WL 7624861, at *10 (D. Minn. Dec. 22, 2020), aff'd, 27 F.4th
                  1339 (8th Cir. 2022) (statements are not actionable when they are “too vague to be proved or disproved”).
Missouri          Tucker v. Gen. Motors LLC, 58 F.4th 392, 398 (8th Cir. 2023) (Missouri) (“merely exaggerated boasting or
                  highly subjective claims of product superiority” are unactionable puffery).
Nevada            Bevers v. D.R. Horton, Inc., 2011 WL 294369, at *2 (D. Nev. Jan. 26, 2011) (“A statement is not actionable
                  if it is merely an expression of opinion, an estimate of value, or ‘mere puffery.’”).
North Carolina    Glob. Hookah Distribs. v. Avior, Inc., 401 F. Supp. 3d 653, 659 (W.D.N.C. 2019) (“The line between
                  corporate optimism and material statements falls where the statements at issue were specific factual
                  allegations that were not simply sales pitches but rather can be proven true or false” (internal quotation
                  marks omitted))
North Dakota      Dahl v. Messmer, 719 N.W.2d 341, 345 (N.D. 2006) (“statements of opinion . . . have not been actionable
                  even though they are false” because they are non-actionable puffery)
Ohio              Davis v. Byers Volvo, 2012-Ohio-882, ¶ 39 (“mere boasting” would be interpreted by a reasonable consumer
                  as “a general claim of superiority, which constitutes puffery and is not actionable”)
Oregon            Andriesian v. Cosm. Dermatology, Inc., 2015 WL 1638729, at *4 (D. Or. Mar. 3, 2015) (“‘[G]eneralized,
                  vague and unspecific assertions constitut[e] mere ‘puffery’ upon which a reasonable consumer [cannot]
                  rely.’ Glen Holly Entm't, Inc. v. Tektronix Inc., 343 F.3d 1000, 1015 (9th Cir.2003) (holding that a
                  company's statements ‘generally describing the ‘high priority’ [it] placed on product development and
                  alluding to marketing efforts” that suggested the product was almost complete and would be released could
                  not form the basis for a fraud or negligent misrepresentation claim). The court may determine as a matter of
                  law whether a statement is puffery.’”)
Pennsylvania      Kovalev v. Lidl US, LLC, 647 F. Supp. 3d 319, 352–53 (E.D. Pa. 2022) (“Where the impression created by
                  the [advertising] statement is one of exaggeration or overstatement expressed in broad language, it may be
                  deemed non-actionable puffery.”).
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Rhode Island      A.J. Amer Agency, Inc. v. Astonish Results, LLC, 2014 WL 3496964, at *20 (D.R.I. July 11, 2014) (“rosy
                  statements about future performance amounts to ‘puffery’ and is not actionable”).
South Carolina    Clarkson v. Orkin Exterminating Co., 761 F.2d 189, 191 (4th Cir. 1985) (“[a] statutory prohibition of
                  deceptive practices simply does not reach expected puffing of a vendor’s product nor authorize an award of
                  damages solely on the basis of testimony from a competitor that the product is ineffective.”).
South Dakota      Schmaltz v. Nissen, 431 N.W.2d 657, 661 (S.D. 1988) (“An affirmation merely of the value of the goods or
                  a statement purporting to be merely the seller's opinion or commendation of the goods does not create a
                  warranty.”).
Tennessee         McElroy v. Boise Cascade Corp., 632 S.W.2d 127, 130 (Tenn. Ct. App. 1982) (“statements of opinion or
                  intention are not actionable. . . . Likewise, puffing or other sales talk is generally not actionable.”).
Texas             Prudential Ins. Co. of Am. v. Jefferson Assocs., Ltd., 896 S.W.2d 156, 163 (Tex. 1995) (“These statements
                  were not misrepresentations of material fact but merely ‘puffing’ or opinion, and thus could not constitute
                  fraud.”).
Utah              Boud v. SDNCO, Inc., 2002 UT 83, ¶ 14, 54 P.3d 1131, 1135 (“To qualify as an affirmation of fact, a
                  statement must be objective in nature, i.e., verifiable or capable of being proven true or false.”).
Vermont           Otis-Wisher v. Fletcher Allen Health Care, Inc., 951 F. Supp. 2d 592, 603 (D. Vt. 2013)
                  (“[m]isrepresentations involving facts are actionable while those involving opinions are not.”)
Virginia          Graham v. RRR, LLC, 202 F. Supp. 2d 483, 491 (E.D. Va. 2002) (“As a general rule, ‘fraud must relate to a
                  present or a pre-existing fact, and cannot ordinarily be predicated upon unfulfilled promises or statements as
                  to future events.’”).
Washington        Babb v. Regal Marine Indus., Inc., 179 Wash. App. 1036 (2014) (“General, subjective, unverifiable claims
                  about a product or service are ‘mere puffery’ that cannot give rise to false advertising or, in this context, an
                  unfair or deceptive act.” (internal citation omitted)).
Wisconsin         Tietsworth v. Harley-Davidson, Inc., 270 Wis. 2d 146, 171-72 (2004) (“exaggerations reasonably to be
                  expected of a seller as to the degree of quality of his product” is non-actionable puffery).
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                                    Appendix B: Materiality Requirement

State          Authority
Arizona        In re Arizona Theranos, Inc. Litig., 2023 WL 3246811, at *5 (D. Ariz. May 4, 2023) (“the ACFA broadly
               prohibits the misrepresentation or omission of any material fact in connection with the sale or
               advertisement of consumer goods and services.”).
California     People v. Johnson & Johnson, 77 Cal. App. 5th 295, 327 (2022) (assuming that “a materiality standard is
               implicit in the likelihood of deception standard applicable in all fraudulent and deceptive advertising
               cases”)
Colorado       Rhino Linings USA, Inc. v. Rocky Mountain Rhino Lining, Inc., 62 P.3d 142, 147 (Colo. 2003) (“a false
               representation must either induce a party to act, refrain from acting, or have the capacity or tendency to
               attract consumers.”).
Connecticut    State v. Moody’s Corp., 2012 WL 2149408, at *2 (Conn. Super. Ct. May 10, 2012) (State required to allege
               “that the misleading representation, omission, or practice was material”)
Delaware       Crowhorn v. Nationwide Mut. Ins. Co., 2002 WL 1767529, at *9 (Del. Super. Ct. July 10, 2002) (“The CFA
               ‘incorporates the principle that a negligent misrepresentation is sufficient to violate the statute,’ and for a
               misrepresentation to be negligent it must be material.”)
Florida        [materiality requirement comes from incorporated FTCA standard]

               Fla. Stat. Ann. § 501.204(2) (“It is the intent of the Legislature that, in construing subsection (1), due
               consideration and great weight shall be given to the interpretations of the Federal Trade Commission and
               the federal courts relating to [subsection] 5(a)(1) of the Federal Trade Commission Act.”).
Georgia        Follows the FTCA standard, which makes materiality a necessary element of a deceptive practices claim.
               See, e.g., F.T.C. v. Verity Int’l Ltd., 443 F.3d 48, 63 (2d Cir. 2006) (“the representation, omission, or
               practice [must be] material”)
Hawaii         State ex rel. Shikada v. Bristol-Myers Squibb Co., 152 Haw. 418, 443 (2023) (“Materiality is an essential
               element of a . . . deceptive acts violation.”).
Indiana        Meta is not aware of case law in Indiana addressing the materiality requirement either way, but
               respectfully submits that Indiana would follow the majority rule.
Illinois       People ex rel. Madigan v. United Const. of Am., Inc., 981 N.E.2d 404, 409 (Ill. App. 2012) (to state a
               claim, State must “demonstrat[e] that a defendant misrepresented a material fact”).
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Kansas            York v. InTrust Bank, N.A., 265 Kan. 271, 290 (1998) (claim requires “any oral or written representation, of
                  exaggeration, falsehood, innuendo or ambiguity as to a material fact”)

Kentucky          [materiality requirement comes from incorporated FTCA standard]
                  Morgan v. Blue Cross & Blue Shield of Kentucky, Inc., 794 S.W.2d 629, 632 (Ky. 1989) (“The [Kentucky
                  Supreme] Court . . . determined that the language of Section 5 of the Federal Trade Commission Act [15
                  U.S.C. § 45(a)(1)] was comparable to Kentucky law.”).
Louisiana         [materiality requirement comes from incorporated FTCA standard]

                  La. Stat. Ann. § 51:1406(4) (“The provisions of this Chapter shall not apply to: … (4) Any conduct which
                  complies with section 5(a)(1) of the Federal Trade Commission Act [15 U.S.C., 45(a)(1)], as from time to
                  time amended, any rule or regulation promulgated thereunder and any finally adjudicated court decision
                  interpreting the provisions of said Act, rules and regulations.”).
Maine             State v. Weinschenk, 868 A.2d 200, 206 (Me. 2005) (“An act or practice is deceptive if it is a material
                  representation.”)
Michigan          In re OnStar Cont. Litig., 278 F.R.D. 352, 376 (E.D. Mich. 2011) (requiring that that “the defendant made
                  a material misrepresentation that was false”).
Minnesota         Transclean Corp. v. Bridgewood Servs., Inc., 77 F. Supp. 2d 1045, 1095 (D. Minn. 1999) (requiring that
                  “the deception is material because it is likely to influence buying decisions”).
Missouri          Dedloff v. Whole Foods Mkt. Grp., Inc., 2023 WL 5428501, at *5 (E.D. Mo. Aug. 23, 2023) (requiring
                  “that the method, act, or practice declared unlawful by section 407.020 would cause a reasonable person to
                  enter into the transaction that resulted in damages”).
North Carolina    [materiality requirement comes from incorporated FTCA standard]

                  Henderson v. U.S. Fid. & Guar. Co., 346 N.C. 741, 749, 488 S.E.2d 234, 239 (1997) (“Our statute is
                  patterned after section 5 of the Federal Trade Commission Act, 15 U.S.C. § 45(a)(1), and we look to
                  federal case law for guidance in interpreting the statute.”)
North Dakota      N. Bottling Co. v. Henry’s Foods, Inc., 474 F. Supp. 3d 1016, 1028 (D.N.D. 2020) (requiring that “the
                  deception is material, in that it is likely to influence the purchasing decision”)
Ohio              Davis v. Byers Volvo, 2012 WL 691757, ¶ 29 (Ohio App. 4 Dist. 2012) (to be deceptive, act must “concern
                  a matter that is or is likely to be material to a consumer’s decision”)
Oregon            Oregon is a minority state that disclaims a materiality requirement.
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Pennsylvania      [materiality requirement comes from incorporated FTCA standard]

                  Com., by Creamer v. Monumental Properties, Inc., 459 Pa. 450, 461–62, 329 A.2d 812, 817–18 (1974)
                  (“The Consumer Protection Law has regularly been interpreted by the Commonwealth Court as being
                  based on the Federal Trade Commission Act . . . . Indeed, in all relevant respects the language of section 3
                  of the Consumer Protection Law and section 5 of the FTC Act is identical.”).
Rhode Island      State v. BTTR, LLC, 2023 WL 3183738, at *8 (R.I. Super. Apr. 24, 2023) (“requiring State to prove that
                  “the representation, omission, or practice is material”)
South Carolina    [materiality requirement comes from incorporated FTCA standard]
                  S.C. Code Ann. § 39-5-20(b) (“It is the intent of the legislature that in construing paragraph (a) of this
                  section the courts will be guided by the interpretations given by the Federal Trade Commission and the
                  Federal Courts to Section 5(a) (1) of the Federal Trade Commission Act (15 U.S.C. 45(a)(1)), as from time
                  to time amended.”).
Virginia          Weiss v. Cassidy Dev. Corp., 63 Va. Cir. 76 (2003) (requiring “a false representation, of material fact”).
Washington        Washington is a minority state that disclaims a materiality requirement.
Wisconsin         Weaver v. Champion Petfoods USA Inc., 3 F.4th 927, 934 (7th Cir. 2021) (Wisconsin; “[A] label is
                  deceptive if it is likely to mislead a reasonable consumer in a material respect.”)
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                Appendix C: States that Follow the Federal Trade Commission Act Standard

State          Authority
Arizona        Ariz. Rev. Stat. Ann. § 44-1522(C) (“It is the intent of the legislature, in construing subsection A, that the
               courts may use as a guide interpretations given by the federal trade commission and the federal courts to 15
               United States Code [§§] 45, 52 and 55(a)(1).”).
Connecticut    Conn. Gen. Stat. Ann. § 42-110b(b) (“It is the intent of the legislature that in construing subsection (a) of
               this section, the commissioner and the courts of this state shall be guided by interpretations given by the
               Federal Trade Commission and the federal courts to Section 5(a)(1) of the Federal Trade Commission Act
               (15 USC 45(a)(1)), as from time to time amended.”)
Delaware       Del. Code Ann. tit. 6, § 2511(9) (“‘Unfair practice’ means any act or practice that causes or is likely to
               cause substantial injury to consumers which is not reasonably avoidable by consumers themselves and not
               outweighed by countervailing benefits to consumers or to competition.”)
Florida        Fla. Stat. Ann. § 501.204(2) (“It is the intent of the Legislature that, in construing subsection (1), due
               consideration and great weight shall be given to the interpretations of the Federal Trade Commission and
               the federal courts relating to [subsection] 5(a)(1) of the Federal Trade Commission Act.”)
Georgia        Ga. Code Ann. § 10-1-391(b) (“It is the intent of the General Assembly that this part be interpreted and
               construed consistently with interpretations given by the Federal Trade Commission in the federal courts
               pursuant to Section 5(a)(1) of the Federal Trade Commission Act (15 U.S.C. Section 45(a)(1)), as from time
               to time amended.”)
Hawaii         Haw. Rev. Stat. Ann. § 480-2(b) (“In construing this section, the courts and the office of consumer
               protection shall give due consideration to the rules, regulations, and decisions of the Federal Trade
               Commission and the federal courts interpreting section 5(a)(1) of the Federal Trade Commission Act (15
               U.S.C. 45(a)(1)), as from time to time amended.”).
Illinois       815 Ill. Comp. Stat. Ann. 505/2 (“In construing this section consideration shall be given to the
               interpretations of the Federal Trade Commission and the federal courts relating to Section 5(a) of the
               Federal Trade Commission Act.”).
Kentucky       Morgan v. Blue Cross & Blue Shield of Kentucky, Inc., 794 S.W.2d 629, 632 (Ky. 1989) (“The [Kentucky
               Supreme] Court . . . determined that the language of Section 5 of the Federal Trade Commission Act [15
               U.S.C. § 45(a)(1)] was comparable to Kentucky law.” (citing Dare to be Great, Inc. v. Com. of Ky, ex rel
               Hancock, Ky., 511 S.W.2d 224 (1974))).
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Louisiana         La. Stat. Ann. § 51:1406(4) (“The provisions of this Chapter shall not apply to: (4) Any conduct which
                  complies with section 5(a)(1) of the Federal Trade Commission Act [15 U.S.C., 45(a)(1)], as from time to
                  time amended, any rule or regulation promulgated thereunder and any finally adjudicated court decision
                  interpreting the provisions of said Act, rules and regulations.”).
Maine             Me. Rev. Stat. tit. 5, § 207(1) (“It is the intent of the Legislature that in construing this section the courts
                  will be guided by the interpretations given by the Federal Trade Commission and the Federal Courts to
                  Section 45(a)(1) of the Federal Trade Commission Act (15 United States Code 45(a)(1)), as from time to
                  time amended.”).
Minnesota         “An unfair or unconscionable act or practice is any . . . act[] or practice that: (1) offends public policy as
                  established by the statutes, rules, or common law of Minnesota; (2) is unethical, oppressive, or
                  unscrupulous; or (3) is substantially injurious to consumers.” Minn. Stat. Ann. § 325F.69, subd. 8.
Missouri          An “unfair practice” is a practice that either (1) “[o]ffends any public policy as it has been established by
                  the Constitution, statutes or common law of this state, or by the Federal Trade Commission, or its
                  interpretive decisions,” or (2) that both is “unethical, oppressive, or unscrupulous and [] presents a risk of,
                  or causes, substantial injury to consumers.” Ward v. W. Cnty. Motor Co., 403 S.W.3d 82, 84 (Mo. 2013), as
                  modified (May 28, 2013).
Nebraska          Salem Grain Co., Inc. v. Consol. Grain & Barge Co., 297 Neb. 682, 698 (2017) (“Section 59-1602 states
                  that ‘[u]nfair methods of competition and unfair or deceptive acts or practices in the conduct of any trade or
                  commerce shall be unlawful.’ We have stated that § 59-1602 mirrors the language of 15 U.S.C. §
                  45(a)(1).”)).
New York          Multistate Compl. Count XXXVII, ¶¶ 1077–84 (“Violation of FTC Act § 5 in Violation of N.Y. Executive
                  Law § 63(12)).
North Carolina    Henderson v. U.S. Fid. & Guar. Co., 346 N.C. 741, 749 (1997) (“Our statute is patterned after section 5 of
                  the Federal Trade Commission Act, 15 U.S.C. § 45(a)(1), and we look to federal case law for guidance in
                  interpreting the statute.”)
North Dakota      Compare N.D. Cent. Code Ann. § 51-15-02 (“The act, use, or employment by any person of any act or
                  practice, in connection with the sale or advertisement of any merchandise, which is unconscionable or
                  which causes or is likely to cause substantial injury to a person which is not reasonably avoidable by the
                  injured person and not outweighed by countervailing benefits to consumers or to competition, is declared to
                  be an unlawful practice.”), with 15 U.S.C. § 45(n) (“The Commission shall have no authority under this
                  section or section 57a of this title to declare unlawful an act or practice on the grounds that such act or
                  practice is unfair unless the act or practice causes or is likely to cause substantial injury to consumers which
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                   is not reasonably avoidable by consumers themselves and not outweighed by countervailing benefits to
                   consumers or to competition.”)
                   Ohio Rev. Code Ann. § 1345.02(C) (“In construing division (A) of this section, the court shall give due
Ohio
                   consideration and great weight to federal trade commission orders, trade regulation rules and guides, and
                   the federal courts’ interpretations of subsection 45 (a)(1) of the “Federal Trade Commission Act,” 38 Stat.
                   717 (1914), 15 U.S.C.A. 41, as amended.”)
Pennsylvania        Creamer v. Monumental Properties, Inc., 459 Pa. 450, 461–62, 329 A.2d 812, 817–18 (1974) (“The
                   Consumer Protection Law has regularly been interpreted by the Commonwealth Court as being based on
                   the Federal Trade Commission Act . . . . Indeed, in all relevant respects the language of section 3 of the
                   Consumer Protection Law and section 5 of the FTC Act is identical.” (citing 15 U.S.C.A. § 45(a)(1))))
Rhode Island       6 R.I. Gen. Laws Ann. § 6-13.1-3 (“It is the intent of the legislature that in construing §§ 6-13.1-1 and 6-
                   13.1-2 due consideration and great weight shall be given to the interpretations of the Federal Trade
                   Commission and the federal courts relating to § 5(a) of the Federal Trade Commission Act, 15 U.S.C. §
                   45(a)(1), as from time to time amended.”)
South Carolina     S.C. Code Ann. § 39-5-20(b) (“It is the intent of the legislature that in construing paragraph (a) of this
                   section the courts will be guided by the interpretations given by the Federal Trade Commission and the
                   Federal Courts to Section 5(a) (1) of the Federal Trade Commission Act (15 U.S.C. 45(a)(1)), as from time
                   to time amended.”).
Washington         Wash. Rev. Code Ann. § 19.86.920 (“The legislature hereby declares that the purpose of this act is to
                   complement the body of federal law governing restraints of trade, unfair competition and unfair, deceptive,
                   and fraudulent acts or practices in order to protect the public and foster fair and honest competition. It is the
                   intent of the legislature that, in construing this act, the courts be guided by final decisions of the federal
                   courts and final orders of the federal trade commission interpreting the various federal statutes dealing with
                   the same or similar matters.”).
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              Appendix D: States that Require a Consumer Transaction or Connection to Trade or Commerce

State              Definition of “Trade or Commerce” or “Consumer Transaction”
Alabama            Ala. Code § 8-19-5 (limiting “deceptive acts or practices” to those “in the conduct of any trade or commerce”
                   (emphasis added)); Ala. Code § 8-19-3(14) (“Trade or commerce includes but is not limited to, the advertising,
                   buying, offering for sale, sale or distribution or performance of any service or goods, and any other article,
                   commodity, or thing of value wherever situated and shall include any trade or commerce affecting the people
                   of this state.”); Ala. Code § 8-19-10(a) (providing that “[a]ny person who commits one or more of the acts or
                   practices declared unlawful under this chapter and thereby causes monetary damage to a consumer . . . shall be
                   liable to each consumer” (emphasis added)); Ala. Code § 8-19-3(4) (a “consumer” is “[a]ny natural person
                   who buys goods or services for personal, family, or household use” (emphasis added)).
Arizona            Ariz. Rev. Stat. Ann. § 44-1522 (“The act, use or employment by any person of any deception, deceptive or
                   unfair act or practice, fraud, false pretense, false promise, misrepresentation, or concealment, suppression or
                   omission of any material fact with intent that others rely on such concealment, suppression or omission, in
                   connection with the sale or advertisement of any merchandise whether or not any person has in fact been
                   misled, deceived or damaged thereby, is declared to be an unlawful practice.” (emphasis added)); Ariz. Rev.
                   Stat. Ann. § 44-1521 (“Advertisement includes the attempt by publication, dissemination, solicitation or
                   circulation, oral or written, to induce directly or indirectly any person to enter into any obligation or acquire
                   any title or interest in any merchandise; Sale means any sale, offer for sale or attempt to sell any merchandise
                   for any consideration, including sales, leases and rentals of any real estate subject to any form of deed
                   restriction imposed as part of a previous sale.”).
Connecticut        Conn. Gen. Stat. Ann. § 42-110b(a) (“No person shall engage in unfair methods of competition and unfair or
                   deceptive acts or practices in the conduct of any trade or commerce.” (emphasis added)).
Delaware           Del. Code Ann. tit. 6, § 2513(a) (“The act, use, or employment by any person of any deception, fraud, false
                   pretense, false promise, misrepresentation, unfair practice, or the concealment, suppression, or omission of any
                   material fact with intent that others rely upon such concealment, suppression, or omission, in connection with
                   the sale, lease, receipt, or advertisement of any merchandise . . . .”).
Georgia            Ga. Code Ann. § 10-1-393(a) (“Unfair or deceptive acts or practices in the conduct of consumer transactions
                   and consumer acts or practices in trade or commerce are declared unlawful. (emphasis added)); Henderson v.
                   Gandy, 270 Ga. App. 827, 830 (2004) (requiring that the representations be “intended to encourage consumer
                   transactions”).
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Hawaii     HRS § 480-2 (“Unfair methods of competition and unfair or deceptive acts or practices in the conduct of any
           trade or commerce are unlawful.”(emphasis added)); Baham v. Ass’n of Apartment Owners of Opua Hale
           Patio Homes, 2014 WL 2761744, at *19 (D. Haw. June 18, 2014) (“trade or commerce” means “a transaction
           [that] occurs in a business context”).
Idaho      I.C. § 48-603 (“The following unfair methods of competition and unfair or deceptive acts or practices in the
           conduct of any trade or commerce are hereby declared to be unlawful” (emphasis added)); I.C. § 48-602(2)
           (“‘Trade’ and ‘commerce’ mean the advertising, offering for sale, selling, leasing, renting, collecting debts
           arising out of the sale or lease of goods or services or distributing goods or services, either to or from locations
           within the state of Idaho, or directly or indirectly affecting the people of this state.”).
Indiana    Ind. Code Ann. § 24-5-0.5-3(a) (“A supplier may not commit an unfair, abusive, or deceptive act, omission, or
           practice in connection with a consumer transaction.” (emphasis added)); Catrett v. Landmark Dodge, Inc.,
           253 Ga. App. 639, 642 (2002) (“To come within the FBPA, therefore, the deceptive activity must take place in
           the context of the consumer marketplace.”); Ga. Code Ann. § 10-1-392(a)(7) (“[c]onsumer acts or practices”
           means “acts or practices intended to encourage consumer transactions”); Ga. Code Ann. § 10-1-392(a)(10)
           (“Consumer transactions,” means “the sale, purchase, lease, or rental of goods, services, or property, real or
           personal, primarily for personal, family, or household purposes.”).
Illinois   815 ILCS 505/2 (“Unfair methods of competition and unfair or deceptive acts or practices . . . in the conduct
           of any trade or commerce are hereby declared unlawful whether any person has in fact been misled, deceived
           or damaged thereby.” (emphasis added)); 815 ILCS 505/1(f) (“The terms ‘trade’ and ‘commerce’ mean the
           advertising, offering for sale, sale, or distribution of any services and any property, tangible or intangible, real,
           personal or mixed, and any other article, commodity, or thing of value wherever situated, and shall include any
           trade or commerce directly or indirectly affecting the people of this State.”); City of Chicago v. Purdue
           Pharma L.P., 2021 WL 1208971, at *4 (N.D. Ill. Mar. 31, 2021) (requiring “the defendant’s intent that the
           plaintiff rely on the deceptive or unfair practice”).
Kansas     Kan. Stat. Ann. § 50-626(a) (“No supplier shall engage in any deceptive act or practice in connection with a
           consumer transaction.” (emphasis added)); Kan. Stat. Ann. § 50-624(c) (“‘Consumer transaction’ means a
           sale, lease, assignment or other disposition for value of property or services within this state, except insurance
           contracts regulated under state law, to a consumer; or a solicitation by a supplier with respect to any of these
           dispositions.” (emphasis added)).

Kentucky   Ky. Rev. Stat. § 367.170(1) (“Unfair, false, misleading, or deceptive acts or practices in the conduct of any
           trade or commerce are hereby declared unlawful.” (emphasis added)); Ky. Rev. Stat. § 367.110(2) (“‘Trade’
           and ‘commerce’ means the advertising, offering for sale, or distribution of any services and any property,
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                tangible or intangible, real, personal or mixed, and any other article, commodity, or thing of value, and shall
                include any trade or commerce directly or indirectly affecting the people of this Commonwealth.”).
Louisiana       La. Stat. Ann. § 51:1405 (“Unfair methods of competition and unfair or deceptive acts or practices in the
                conduct of any trade or commerce are hereby declared unlawful.” (emphasis added)); La. Stat. Ann. §
                51:1402(9) (“Trade and commerce” defined as “the advertising, offering for sale, sale, or distribution of any
                services and any property, corporeal or incorporeal, immovable or movable, and any other article, commodity,
                or thing of value wherever situated, and includes any trade or commerce directly or indirectly affecting the
                people of the state.”).
Maine           Me. Rev. Stat. tit. 5, § 207 (“Unfair methods of competition and unfair or deceptive acts or practices in the
                conduct of any trade or commerce are declared unlawful.” (emphasis added)); Me. Rev. Stat. tit. 5, § 206(3)
                (“‘Trade’ and ‘commerce’ shall include the advertising, offering for sale, sale or distribution of any services
                and any property, tangible or intangible, real, personal or mixed, and any other article, commodity or thing of
                value wherever situated, and shall include any trade or commerce directly or indirectly affecting the people of
                this State.”).
Maryland        Md. Code Ann., Com. Law § 13-303(1) (act limited to “[t]he sale, lease, rental, loan, or bailment of any
                consumer goods, consumer realty, or consumer services”); Md. Code Ann., Com. Law § 13-101(i) (“sale”
                means “[s]ale of or offer or attempt to sell merchandise, real property, or intangibles for cash or credit; or . . .
                [s]ervice or offer for service which relates to any person, building, or equipment.”); id. § 13-101(j) (“Service,”
                means “[b]uilding repair or improvement service; . . . [s]ubprofessional service; . . . [r]epair of a motor
                vehicle, home appliance, or other similar commodity; . . . or [r]epair, installation, or other servicing of any
                plumbing, heating, electrical, or mechanical device.”).
Massachusetts   Mass. Gen. Laws Ann. ch. 93A, § 2(a) (“Unfair methods of competition and unfair or deceptive acts or
                practices in the conduct of any trade or commerce are hereby declared unlawful.” (emphasis added)); Mass.
                Gen. Laws Ann. ch. 93A, § 1(b) (“Trade or commerce” defined as including, “the advertising, the offering for
                sale, rent or lease, the sale, rent, lease or distribution of any services.”).
Michigan        Mich. Comp. Laws Ann. § 445.903 (“Unfair, unconscionable, or deceptive methods, acts, or practices in the
                conduct of trade or commerce are unlawful.” (emphasis added)).
Missouri        Mo. Ann. Stat. § 407.020(1) (“The act, use or employment by any person of any deception, fraud, false
                pretense, false promise, misrepresentation, unfair practice or the concealment, suppression, or omission of any
                material fact in connection with the sale or advertisement of any merchandise in trade or commerce or the
                solicitation of any funds for any charitable purpose, as defined in section 407.453, in or from the state of
                Missouri, is declared to be an unlawful practice.” (emphasis added)); Mo. Ann. Stat. § 407.010(7) (“‘Trade’ or
                ‘commerce’, the advertising, offering for sale, sale, or distribution, or any combination thereof, of any services
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                 and any property, tangible or intangible, real, personal, or mixed, and any other article, commodity, or thing of
                 value wherever situated.”).
Nebraska         Neb. Rev. Stat. Ann. § 59-1602 (“Unfair methods of competition and unfair or deceptive acts or practices in
                 the conduct of any trade or commerce shall be unlawful. (emphasis added)); Neb. Rev. Stat. Ann. § 59-1601
                 (“Trade and commerce shall mean the sale of assets or services and any commerce directly or indirectly
                 affecting the people of the State of Nebraska.”).
New Jersey       N.J. Stat. Ann. § 56:8-2 (requiring that the act be done “in connection with the sale or advertisement”).
New York         Fed. Trade Comm’n v. Quincy Bioscience Holding Co., Inc., 646 F. Supp. 3d 518, 526 (S.D.N.Y. 2022)
                 (requiring that defendant’s conduct be “consumer-oriented”).
North Dakota     N.D. Cent. Code § 51-15-02 (“The act, use or employment by any person of any deceptive act or practice,
                 fraud, false pretense, false promise, or misrepresentation, with the intent that others rely thereon in connection
                 with the sale or advertisement of any merchandise . . . is declared to be an unlawful practice.” (emphasis
                 added)).
Ohio             Ohio R.C. § 1345.02(A) (“No supplier shall commit an unconscionable act or practice in connection with a
                 consumer transaction.” (emphasis added)); Ohio R.C. § 1345.01 (defining “consumer transaction” to mean “a
                 sale, lease, assignment, award by chance, or other transfer of an item of goods, a service, a franchise, or an
                 intangible, to an individual for purposes that are primarily personal, family”).
Pennsylvania     73 Pa. Stat. Ann. § 201-3(a) (“Unfair methods of competition and unfair or deceptive acts or practices in the
                 conduct of any trade or commerce as defined by . . . .” (emphasis added)); 73 Pa. Stat. Ann. § 201-2(3)
                 (“‘Trade’ and ‘commerce’ means the advertising, offering for sale, sale or distribution of any services and any
                 property, tangible or intangible, real, personal or mixed, and any other article, commodity, or thing of value
                 wherever situated, and includes any trade or commerce directly or indirectly affecting the people of this
                 Commonwealth.”).
Rhode Island     6 R.I. Gen. Laws Ann. § 6-13.1-2 (“Unfair methods of competition and unfair or deceptive acts or practices in
                 the conduct of any trade or commerce are declared unlawful.” (emphasis added)); 6 R.I. Gen. Laws Ann. § 6-
                 13.1-1(5) (“‘Trade’ and ‘commerce’ mean the advertising, offering for sale, sale, or distribution of any services
                 and any property, tangible or intangible, real, personal, or mixed, and any other article, commodity, or thing of
                 value wherever situate, and include any trade or commerce directly or indirectly affecting the people of this
                 state.”).
South Carolina   S.C. Code Ann. § 39-5-20(a) (“Unfair methods of competition and unfair or deceptive acts or practices in the
                 conduct of any trade or commerce are hereby declared unlawful.” (emphasis added)); S.C. Code Ann. § 39-5-
                 10(b) (“Trade and commerce shall include the advertising, offering for sale, sale or distribution of any services
                 and any property, tangible or intangible, real, personal or mixed, and any other article, commodity or thing of
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             value wherever situate, and shall include any trade or commerce directly or indirectly affecting the people of
             this State.”).
Tennessee    Tenn. Code Ann. § 47-18-104(a) (“Unfair or deceptive acts or practices affecting the conduct of any trade or
             commerce constitute unlawful acts or practices and are Class B misdemeanors. (emphasis added)); Tenn. Code
             Ann. § 47-18-103(20) (‘Trade,’ ‘commerce,’ or ‘consumer transaction’ means the advertising, offering for sale,
             lease or rental, or distribution of any goods, services, or property, tangible or intangible, real, personal, or
             mixed, and other articles, commodities, or things of value wherever situated.”).
Texas        Tex. Bus. & Com. Code Ann. § 17.46 9(a) (“False, misleading, or deceptive acts or practices in the conduct of
             any trade or commerce are hereby declared unlawful . . . . (emphasis added)); Tex. Bus. & Com. Code Ann. §
             17.45(6) (“‘Trade’ and ‘commerce’ mean the advertising, offering for sale, sale, lease, or distribution of any
             good or service, of any property, tangible or intangible, real, personal, or mixed, and any other article,
             commodity, or thing of value, wherever situated, and shall include any trade or commerce directly or indirectly
             affecting the people of this state.”); Tex. Bus. & Com. Code Section 17.50(a) (“A consumer may maintain an
             action . . . ” (emphasis added)).
Utah         Utah Code § 13-11-4(1) (“A deceptive act or practice by a supplier in connection with a consumer
             transaction violates this chapter whether it occurs before, during, or after the transaction.” (emphasis added));
             Utah Code § 13-11-3(2)(a) (“‘Consumer transaction’ means a sale, lease, assignment, award by chance, or
             other written or oral transfer or disposition of goods, services, or other property, both tangible and intangible”).
Vermont      9 V.S.A. § 2453(a) (“Unfair methods of competition in commerce and unfair or deceptive acts or practices in
             commerce are hereby declared unlawful.” (emphasis added)); Vt. Stat. Ann. tit. 9, § 2451a(1) (defining
             “consumer” as “any person who purchases, leases, contracts for, or otherwise agrees to pay consideration for
             goods or services not for resale . . . but for his or her use or benefit or the use or benefit of a member of his or
             her household . . .”); Vt. Stat. Ann. tit. 9, § 2461(b) (providing a private cause of action to “[a]ny consumer
             who contracts for goods or services” (emphasis added)).
Virginia     Va. Code § 59.1-200 (“The following fraudulent acts or practices committed by a supplier in connection with
             a consumer transaction are hereby declared unlawful[.] (emphasis added)); Va. Code § 59.1-198 (defining
             “consumer transaction” to include “[t]he advertisement, sale, lease, license or offering for sale, lease or
             license, of goods or services to be used primarily for personal, family or household purposes”).
Washington   Wash. Rev. Code Ann. § 19.86.020 (“Unfair methods of competition and unfair or deceptive acts or practices
             in the conduct of any trade or commerce are hereby declared unlawful.” (emphasis added)); Wash. Rev. Code
             Ann. § 19.86.010 (“‘Trade’ and ‘commerce’ shall include the sale of assets or services, and any commerce
             directly or indirectly affecting the people of the state of Washington.”); see also Hangman Ridge Training
             Stables, Inc. v. Safeco Title Ins. Co., 105 Wash. 2d 778, 793 (1986) (“[Defendant] and the [Plaintiffs] were
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            involved in a loan closing, which is a commercial transaction. As such, the transaction occurred in ‘trade or
            commerce’.” (internal citations omitted)).
Wisconsin   Am. Orthodontics Corp. v. Epicor Software Corp., 746 F. Supp. 2d 996, 998 (E.D. Wis. 2010) (requiring
            representation to be made “with intent to induce . . . ‘the public’”).
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                                          Appendix E: Restitution Requirements

State        Authority
Arizona      Ariz. Rev. Stat. Ann. § 44-1528(2) (Permitting the Court to “make such orders or judgments as may be necessary to
             . . . restore to any person in interest any monies or property, real or personal, which may have been acquired by
             means of any practice in this article declared to be unlawful, including the appointment of a receiver”).
California   Cal. Bus. & Prof. Code § 17203 (permitting the Court to “make such orders or judgments . . . as may be necessary
             to restore to any person in interest any money or property, real or personal, which may have been acquired by
             means of such unfair competition.”).
Colorado     Colo. Rev. Stat. Ann. § 6-1-110(1) (“The Court may make such orders or judgments . . . which may be necessary to
             completely compensate or restore to the original position of any person injured by means of any such practice.”).
Delaware     Del. Code Ann. tit. 6, § 2523 (Proving that “after a hearing may grant relief by issuing temporary restraining
             orders, preliminary or permanent injunctions, and such other relief . . . which may be necessary to restore to any
             person in interest any money or property, real or personal, which may have been acquired by means of any practice
             declared to be unlawful by this subchapter”).
Georgia      Ga. Code Ann. § 10-1-397(b)(2)(D) (Providing that the Court “may enter or grant . . . [r]estitution to any person or
             persons adversely affected by a defendant’s actions in violation of [the statute].”).
Illinois     815 ILCS 505/7(a) (“The Court, in its discretion, may exercise all powers necessary, including but not limited to . .
             . restitution.”).
Indiana      Ind. Code Ann. § 24-5-0.5-4(c)(2) (The Court may “order the supplier to make payment of the money unlawfully
             received from the aggrieved consumers to be held in escrow for distribution to aggrieved consumers.”).
Kansas       Kan. Stat. Ann. § 50-632(c)(2) (“the court may . . . make such orders or judgments as may be necessary to
             compensate any consumer for damages sustained”).
Kentucky     Ky. Rev. Stat. Ann. § 367.200 (“The court may make such additional orders or judgments as may be necessary to
             restore to any person in interest any moneys or property, real or personal, which may have been paid out as a result
             of any practice declared to be unlawful”).
Michigan     In re White, 330 Mich. App. 476, 483, 948 N.W.2d 643, 648 (2019) (under Michigan law, restitution is the
             restoration of actual amounts lost by the victim).
Minnesota    Damon v. Groteboer, 937 F. Supp. 2d 1048, 1070 (D. Minn. 2013) (“[T]he sole statutory remedy for deceptive
             trade practices is injunctive relief.”); Dennis Simmons, D.D.S., P.A. v. Mod. Aero, Inc., 603 N.W.2d 336, 340 (Minn.
             Ct. App. 1999) (“[S]ubdivision 3a specifically limits its relief to those statutes referred to in subdivision 1, and the
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               DTPA is not included in that list.”); Humphrey v. Philip Morris Inc., 551 N.W.2d 490, 496 (Minn. 1996) (noting
               that the deceptive trade practices statute is not included in Section 8.31).
Missouri       Mo. Ann. Stat. § 407.100(4) (Providing that the Court “may enter an order of restitution . . . as may be necessary to
               restore to any person who has suffered any ascertainable loss, including, but not limited to, any moneys or property,
               real or personal, which may have been acquired by means of any method, act, use, practice or solicitation, or any
               combination thereof, declared to be unlawful by this chapter”).
Nebraska       Neb. Rev. Stat. Ann. § 59-1608 (“The court may make such additional orders or judgments as may be necessary to
               restore to any person in interest any money or property, real or personal, which may have been acquired by means
               of any act prohibited in the Consumer Protection Act.”).
Nevada         Nev. Rev. Stat. Ann. § 598.0971 (permitting “restitution for any money or property improperly received or obtained
               as a result of the violation”); Nev. Rev. Stat. Ann. § 598.0993(“the court in which an action is brought pursuant to
               NRS 598.0979 and 598.0985 to 598.099, inclusive, may make such additional orders or judgments as may be
               necessary to restore to any person in interest any money or property, real or personal, which may have been
               acquired by means of any deceptive trade practice which violates any of the provisions of NRS 598.0903 to
               598.0999, inclusive, but such additional orders or judgments may be entered only after a final determination has
               been made that a deceptive trade practice has occurred”).
New Jersey     N.J. Stat. Ann. § 56:8-15 (“the Attorney General or his designee may . . . upon a finding of an unlawful practice
               under this act and the act . . . order that any moneys or property, real or personal, which have been acquired by
               means of such unlawful practice be restored to any person in interest, except that if any moneys or property, real or
               personal, have been acquired by means of an unlawful practice perpetrated against a senior citizen, the amount of
               moneys or property, real or personal, ordered restored shall be twice the amount acquired”).
New York       N.Y. Gen. Bus. Law § 349 (permitting court to “enjoin such unlawful acts or practices and to obtain restitution of
               any moneys or property obtained directly or indirectly by any such unlawful acts or practices”).
North Dakota   N.D. Cent. Code Ann. § 51-15-07 (“The court may make an order or judgment . . . which may be necessary to
               restore to any person in interest any money, or property that may have been acquired by means of any practice in
               this chapter.”)
Pennsylvania   73 Pa. Stat. Ann. § 201-4.1 (“[T]he court may in its discretion direct that the defendant or defendants restore to any
               person in interest any moneys or property, real or personal, which may have been acquired by means of any
               violation of this act, under terms and conditions to be established by the court.”)
Rhode Island   6 R.I. Gen. Laws Ann. § 6-13.1-5(c) (“The court may make any additional orders or judgments that may be
               necessary to restore to any person in interest any moneys or property, real or personal, that may have been acquired
               by means of any practice in this chapter declared to be unlawful . . . .”)
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South        S.C. Code Ann. § 39-5-50(b) (“The court may make such additional orders or judgments as may be necessary to
Carolina     restore to any person who has suffered any ascertainable loss by reason of the use or employment of such unlawful
             method, act or practice, any moneys or property, real or personal, which may have been acquired by means of any
             practice declared to be unlawful in this article . . . .”).
Virginia     Va. Code Ann § 59.1-205 (The “court may make such additional orders or decrees as may be necessary to restore to
             any identifiable person any money or property, real, personal, or mixed, tangible or intangible, which may have
             been acquired from such person by means of any act or practice declared to be unlawful in § 59.1-200 or 59.1-
             200.1 . . . .”)
Washington   Wash. Rev. Code Ann. § 19.86.080(2) (“The court may make such additional orders or judgments as may be
             necessary to restore to any person in interest any moneys or property, real or personal, which may have been
             acquired by means of any act herein prohibited or declared to be unlawful . . . .”).
Wisconsin    Wis. Stat. § 100.18(11)(d) (“The court may in its discretion, prior to entry of final judgment, make such orders or
             judgments as may be necessary to restore to any person any pecuniary loss suffered because of the acts or practices
             involved in the action, provided proof thereof is submitted to the satisfaction of the court.”)
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                              Appendix F: Reliance Requirement for Private Plaintiffs

State           Authority
Arizona         Schellenbach v. GoDaddy.com, LLC, 321 F.R.D. 613 (D. Ariz. 2017) (“Parties that do not actually rely on a
                false statement or material omission have no claim under the Arizona Consumer Fraud Act.”).
Colorado        Campfield v. State Farm Mut. Auto. Ins. Co., 532 F.3d 1111, 1120 (10th Cir. 2008) (“A CCPA claim consists
                of five elements: (1) the defendant engaged in an unfair or deceptive trade practice; (2) in the course of its
                business; (3) significantly impacting the public as actual or potential consumers of the defendant's goods; (4)
                the plaintiff suffered an injury in fact to a legally protected interest; and (5) the practice caused the injury.”)
                (citing Rhino Linings USA, Inc. v. Rocky Mountain Rhino Lining, Inc., 62 P.3d 142, 146–47 (Colo.2003)).
California      In re Tobacco II Cases, 46 Cal. 4th 298, 306 (2009) (plaintiff “proceeding on a claim of misrepresentation as
                the basis of his or her [California Unfair Competition Law] action must demonstrate actual reliance on the
                allegedly deceptive or misleading statements”)
Georgia         Tiismann v. Linda Martin Homes Corp., 281 Ga. 137, 138 (2006) (plaintiff “must demonstrate that he was
                injured as the result of the reliance upon the alleged misrepresentation”)
Indiana         Hoosier Contractors, LLC v. Gardner, 212 N.E.3d 1234, 1239 (Ind. 2023) (“a prerequisite for obtaining
                damages under this statute is that the claimant relied on the deception.”) (citing Rainbow Realty Grp., Inc. v.
                Carter, 131 N.E.3d 168, 178 (Ind. 2019)).
Iowa            Brown v. Louisiana-Pac. Corp., 820 F.3d 339, 349 (8th Cir. 2016) (a plaintiff must prove that they “acted in
                reliance on the truth of the representation and was justified in relying on the representation”).
Maine           GxG Mgmt., LLC v. Young Bros. & Co., 457 F. Supp. 2d 47, 50 (D. Me. 2006) (“A claim for negligent or
                intentional misrepresentation requires proof of detrimental reliance upon a material false statement of fact.
                Similarly, a claim for a deceptive trade practice requires proof of a material misrepresentation that misleads
                the consumer regarding choice or conduct in relation to a product.” (internal citations omitted)).
Massachusetts   Montanez v. 178 Lowell St. Operating Co., LLC, 95 Mass. App. Ct. 699, 702 (2019) (“[T]he question is
                whether the defendant committed an unfair or deceptive act or practice in the conduct of trade or commerce,
                whether the plaintiff was injured, and whether the defendant’s unfair or deceptive act or practice caused the
                plaintiff's injury.”).
Minnesota       Transclean Corp. v. Bridgewood Servs., Inc., 77 F. Supp. 2d 1045, 1095 (D. Minn. 1999) (a plaintiff must
                allege that “the plaintiff was injured or is likely to be injured as a result” of the misrepresentation).
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New Jersey       Smajlaj v. Campbell Soup Co., 782 F. Supp. 2d 84, 100 (D.N.J. 2011) (requiring “a direct causal connection
                 between the misrepresentation and the plaintiff's defeated expectations.”).
North Carolina   Bumpers v. Cmty. Bank of N. Va., 367 N.C. 81, 88 (2013) (“[A] claim under [North Carolina’s statute]
                 stemming from an alleged misrepresentation does indeed require a plaintiff to demonstrate reliance on the
                 misrepresentation in order to show the necessary proximate cause”).
North Dakota     N. Bottling Co. v. Henry's Foods, Inc., 474 F. Supp. 3d 1016, 1028 (D.N.D. 2020) (a plaintiff must prove “the
                 plaintiff has been or is likely to be injured as a result of the false statement”).
Ohio             Cicero v. Am. Satellite, Inc., 2011-Ohio-4918, ¶ 19 (affirming summary judgment for appellee because
                 appellant “had prior knowledge of the facts such that he was not and could not be deceived by appellee’s
                 acts”).
Oregon           Clark v. Eddie Bauer LLC, 371 Or. 177, 191 (2023) (“the plaintiffs had failed to show that they could litigate
                 the issue of reliance”) (internal citations omitted)
Pennsylvania     Yocca v. Pittsburgh Steelers Sports, Inc., 578 Pa. 479, 501 (2004) (“To bring a private cause of action under
                 the UTPCPL, a plaintiff must show that he justifiably relied on the defendant's wrongful conduct or
                 representation and that he suffered harm as a result of that reliance.”)
Rhode Island     Laccinole v. Assad, 2016 WL 868511, at *7 (D.R.I. Mar. 7, 2016) (“To adequately plead a claim, Laccinole
                 must allege (1) that he was the subject of a deceptive practice or act in connection with the purchase of a
                 service; and (2) that he suffered an ascertainable loss of money or property as a result of the deceptive
                 practice”)
South Carolina   Gault v. Thacher, 367 F. Supp. 3d 469, 485 (D.S.C. 2018) (To bring a successful SCUTPA claim, “the
                 plaintiff must show: (1) the defendant engaged in an unfair or deceptive act in the conduct of trade or
                 commerce; (2) the unfair or deceptive act affected public interest; and (3) the plaintiff suffered monetary or
                 property loss as a result of the defendant’s unfair or deceptive act(s).”) (citing Wright v. Craft, 372 S.C. 1, 640
                 S.E.2d 486, 498 (S.C. Ct. App. 2006)).
South Dakota     Cheval Int’l v. Smartpak Equine, LLC, 2016 WL 1064496, at *12 (D.S.D. Mar. 15, 2016) )”[T]o recover in an
                 action under the South Dakota Deceptive Trade Practices Act, a plaintiff must have relied on the alleged
                 misrepresentation.”).
Virginia         Johnston v. Stephan, 97 Va. Cir. 115, 122 (2017) (“In order to state a cause of action for violation of the
                 Virginia Consumer Protection Act (VCPA), the plaintiff must allege . . reliance by the party misled, and
                 resulting damage.”).
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                                Appendix G: Ascertainable Loss Requirement


State              Authority
Alabama            Ala. Code § 8–19–10(a) (“Any person who commits one or more of the acts or practices declared
                   unlawful under this chapter and thereby causes monetary damage to a consumer, and any person who
                   commits one or more of the acts or practices declared unlawful in subdivisions (19) and (20) of Section
                   8-19-5 and thereby causes monetary damage to another person, shall be liable to each consumer or
                   other person . . . .”).
California         Cal. Bus. & Prof Code § 17204 (“Actions for relief pursuant to [the UCL] shall be [brought] . . . by a
                   person who has suffered injury in fact and has lost money or property as a result of the unfair
                   competition.”)
Connecticut        Conn. Gen. Stat. Ann. § 42-110g(a); Marinos v. Poirot, 308 Conn. 706, 714 (2013) (requires “an
                   ascertainable loss,” which “is a deprivation, detriment [or] injury that is capable of being discovered,
                   observed or established. . . . [A] loss is ascertainable if it is measurable even though the precise amount
                   of the loss is not known.’” (quoting Service Road Corp. v. Quinn, 241 Conn. 630, 638–39 (1997)
                   (emphasis added)); D’Agostino v. Maldonado, 216 N.J. 168, 185 (2013) (“An ascertainable loss under
                   the CFA is one that is quantifiable or measurable.”).
Delaware           Teamsters Loc. 237 Welfare Fund v. AstraZeneca Pharms. LP, 136 A.3d 688, 693 (Del. 2016) (“[T]o
                   bring a private cause of action for damages under the Delaware [Consumer Fraud] Act, a plaintiff must
                   allege three elements: (1) a defendant engaged in conduct which violated the statute; (2) the plaintiff
                   was a ‘victim’ of the unlawful conduct; and (3) a causal relationship exists between the defendant's
                   unlawful conduct and the plaintiff’s ascertainable loss.”)
Idaho              I.C. § 48-608(1) (“Any person who purchases or leases goods or services and thereby suffers any
                   ascertainable loss of money or property, real or personal, as a result of the use or employment by
                   another person of a method, act or practice declared unlawful by this chapter, may treat any agreement
                   incident thereto as voidable or, in the alternative, may bring an action to recover actual damages”).
Iowa               Iowa Code Ann. § 714H.5 (“A consumer who suffers an ascertainable loss of money or property as the
                   result of a prohibited practice or act in violation of this chapter may bring an action at law to recover
                   actual damages”).
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Kentucky            Ky. Stat. Ann. § 367.220(1) (“Any person who purchases or leases goods or services primarily for
                    personal, family or household purposes and thereby suffers any ascertainable loss of money or
                    property, real or personal, as a result of the use or employment by another person of a method, act or
                    practice declared unlawful by KRS 367.170, may bring an action . . . .”).
Louisiana           La. Stat. Ann. § 51:1409(A) (“Any person who suffers any ascertainable loss of money or movable
                    property, corporeal or incorporeal, as a result of the use or employment by another person of an unfair
                    or deceptive method, act, or practice declared unlawful by R.S. 51:1405, may bring an action
                    individually but not in a representative capacity to recover actual damages.”).
Maine               Me. Rev. Stat. tit. 5, § 213(1) (“Any person who purchases or leases goods, services or property, real or
                    personal, primarily for personal, family or household purposes and thereby suffers any loss of money
                    or property, real or personal . . . .”).
Missouri            Mo. Ann. Stat. § 407.025 (“Any person who purchases or leases merchandise primarily for personal,
                    family or household purposes and thereby suffers an ascertainable loss of money or property, real or
                    personal, as a result of the use or employment by another person of a method, act or practice declared
                    unlawful by section 407.020, may bring a private civil action in either the circuit court of the county in
                    which the seller or lessor resides or in which the transaction complained of took place, to recover
                    actual damages”).
New Jersey          Int’l Union of Operating Engineers Loc. No. 68 Welfare Fund v. Merck & Co., 192 N.J. 372, 389
                    (2007) (requiring pleading “an ascertainable loss”).
Ohio                Ohio Rev. Code Ann. § 1345.09(G) (“As used in this section, ‘actual economic damages’ means
                    damages for direct, incidental, or consequential pecuniary losses resulting from a violation of Chapter
                    1345. of the Revised Code and does not include damages for noneconomic loss as defined in section
                    2315.18 of the Revised Code.”).
Oregon              Or. Rev. Stat. Ann. § 646.638(8)(a) (“Statutory damages under subsection (1) of this section may be
                    recovered on behalf of class members only if the plaintiffs in the action establish that the members
                    have sustained an ascertainable loss of money or property as a result of a reckless or knowing use or
                    employment by the defendant of a method, act or practice declared unlawful by”)
Pennsylvania         Pa. Stat. Ann. § 201-9.2 (“Any person who purchases or leases goods or services primarily for
                    personal, family or household purposes and thereby suffers any ascertainable loss of money or
                    property, real or personal, as a result of the use or employment by any person of a method, act or
                    practice declared unlawful by section 31 of this act, may bring a private action to recover actual
                    damages or one hundred dollars ($100), whichever is greater”)
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Rhode Island          6 R.I. Gen. Laws Ann. § 6-13.1-5.2 (“Any person who purchases or leases goods or services primarily
                      for personal, family, or household purposes and thereby suffers any ascertainable loss of money or
                      property, real or personal, as a result of the use or employment by another person of a method, act, or
                      practice declared unlawful by § 6-13.1-2, may bring an action under the rules of civil procedure . . .”)
South Carolina        S.C. Code Ann. § 39-5-140(a) (“Any person who suffers any ascertainable loss of money or property,
                      real or personal, as a result of the use or employment by another person of an unfair or deceptive
                      method, act or practice declared unlawful by Section 39-5-20 may bring an action individually, but not
                      in a representative capacity, to recover actual damages. If the court finds that the use or employment of
                      the unfair or deceptive method, act or practice was a willful or knowing violation of Section 39-5-20,
                      the court shall award three times the actual damages sustained and may provide such other relief as it
                      deems necessary or proper. Upon the finding by the court of a violation of this article, the court shall
                      award to the person bringing such action under this section reasonable attorney's fees and costs.”)
Virginia              Va. Code Ann. § 59.1-204 (“Any person who suffers loss as the result of a violation of this chapter
                      shall be entitled to initiate an action to recover actual damages, or $500, whichever is greater. If the
                      trier of fact finds that the violation was willful, it may increase damages to an amount not exceeding
                      three times the actual damages sustained, or $1,000, whichever is greater”)
West Virginia         W. Va. Code § 46A-6-106(a) (“[A]ny person who purchases or leases goods or services and thereby
                      suffers an ascertainable loss of money or property, real or personal, as a result of the use or
                      employment by another person of a method, act, or practice prohibited or declared to be unlawful by
                      the provisions of this article may bring an action.”).
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                        Appendix H: Negligent Omissions Claims Not Cognizable


State             Authority
California        UMG Recordings, Inc. v. Global Eagle Entertainment, Inc., 117 F. Supp. 3d 1092, 1111 (C.D. Cal.
                  2015) (“negligent misrepresentation requires a positive assertion . . . ; an omission or an implied
                  assertion will not suffice”) (quotation and citation omitted).
Colorado          Craig Hospital v. Tyson Foods, Inc., 2019 WL 5095737, at *6-7 (D. Colo. July 22, 2019)
                  (“conclud[ing] that the Colorado Supreme Court would require that a negligent misrepresentation
                  claim be grounded in affirmative statements”) (collecting cases).
                  Martin v. Chinese Children Adoption International, 2020 WL 6585796, at *13-14 (D. Colo. Nov. 10,
                  2020) (same) (collecting cases).
Georgia           Intellicig USA, LLC v. CN Creative Limited, 2017 WL 11634374, at *7 n.6 (N.D. Ga. Mar. 6, 2017)
                  (“cases strongly suggest that a negligent misrepresentation claim requires an affirmative
                  representation”).

Hawaii            Newcomb v. Cambridge Home Loans, Inc., 861 F. Supp. 2d 1153, 1163 (D. Haw. 2012) (“As a
                  preliminary matter, Plaintiff does not cite, nor has the Court found, any authority recognizing a claim
                  for negligent concealment. Moreover, concealment contemplates intentional behavior, not negligent
                  behavior.”).


Kansas            Plastic Packaging Corp. v. Sun Chem. Corp., 136 F. Supp. 2d 1201, 1207 n.2 (D. Kan. 2001) (noting
                  that Kansas has not recognized the common law tort of “negligent omission”).

Kentucky          Rep. Bank & Trust Co. v. Bear, Stearns & Co., Inc., 707 F. Supp. 2d 702, 714 (W.D. Ky. 2010) (tort of
                  negligent misrepresentation “requires an affirmative false statement; a mere omission will not do”);
Maryland          Shaw v. Brown & Williamson Tobacco Corp., 973 F. Supp. 539, 549-50 (D. Md. 1997) (“the Court is
                  aware of no case in Maryland where a judgment for negligent misrepresentation was upheld in the
                  absence of such an affirmative representation”).
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                      Lloyd v. General Motors Corp., 916 A.2d 257, 273 (Md. Ct. App. 2007) (a claim for negligent
                      misrepresentation requires that “the defendant . . . negligently asserts a false statement”).
Michigan              Donald v. Hi-Tec Bldg. Services, Inc., 2013 WL 5521632, *2 (W.D. Mich. 2013) (“The Michigan Court
                      of Appeals has ‘declined to extend the tort of negligent misrepresentation beyond the misrepresentation
                      of facts that can be independently verified’... In other words, a claim for negligent misrepresentation
                      must be based on misrepresentations of fact, not on opinions or omissions”).
Nebraska              Nelson v. Cheney, 224 Neb. 756, 761 (1987) (“[W]e do not believe it wise or good public policy to
                      adopt a theory of negligent concealment in the vendor/purchaser setting”).
Nevada                Plaintiffs cite Noonan v. Bayview Loan Servicing, 2019 WL 1552690, at *1 (Nev. Apr. 8, 2019)
                      (finding summary judgment proper where defendant “neither made an affirmative false statement nor
                      omitted a material fact it was bound to disclose”), but the cases cited by Noonan do not address
                      negligent misrepresentation as it pertains to omissions.
North Carolina        Bonham v. Wolf Creek Academy, 767 F. Supp. 2d 558, 570 (W.D.N.C. 2011) (“negligent omissions . . .
                      as opposed to negligent misrepresentations cannot form the basis of a claim for negligent
                      misrepresentation under North Carolina law”) (emphasis in original).
                      DeGorter v. Capitol Wealth, Inc., 2016 WL 3944086, at *10 n.2 (N.C. Sup. Ct. 2016) (dismissing claim
                      for negligent misrepresentation “with prejudice to the extent the claim is based on negligent
                      omissions”).
Ohio                  Textron Financial Corp. v. Nationwide Mutual Insurance Co., 684 N.E.2d 1261, 1269 (Ohio Ct. App.
                      1996) (“Negligent misrepresentation does not lie for omissions; there must be some affirmative false
                      statement.”).
Oregon                Plaintiffs cite Vigilante.com, Inc. v. Argus Test.com, Inc., 2005 WL 2218405, at *16 (D. Or. Sept. 6,
                      2005) (stating that Oregon negligent misrepresentation claim requires “negligently making false
                      representations or omitting material facts”), but none of the authorities relied upon by Vigilante.com
                      mention omissions. See Prosser v. Safeco Insurance Co., 2001 U.S. Dist. Lexis 8341 (D. Or. June 15,
                      2001); Conway v. Pacific University, 324 Or. 231, 241, 924 P.2d 818 (1996)).

South Carolina        Plaintiffs cite Pruitt v. Morrow, 342 S.E.2d 400, 401 (S.C. 1986) (“We hold that the doctrine of caveat
                      emptor is also inapplicable in actions based upon negligent or reckless non-disclosure of land
                      defects.”), but the decision is limited to facts involving land defects.
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Texas             Tijerina v. Volkswagen Grp. of Amer., 2023 WL 6890996, at *35 (D.N.J. Oct. 19, 2023) (“affirmative
                  representation is required to assert a negligent misrepresentation claim under Texas . . . law”).
Virginia          Self Insured Services Co. v. Panel Systems, Inc., 352 F. Supp. 3d 540, 555 (E.D. Va. 2018) (“negligent
                  misrepresentation” is what “Virginia courts [] call constructive fraud”).
                  Northern Virginia Eye Institute, P.C. v. Cynosure, LLC, 2021 WL 1554887, at *4 (W.D. Va. Apr. 20,
                  2021) (concluding that “there is no claim for ‘constructive fraud by omission’ in Virginia”).
Washington        Ross v. Kirner, 172 P.3d 701, 704 (Wash. 2007) (Ordinarily, “[a]n omission alone cannot constitute
                  negligent misrepresentation, since the plaintiff must justifiably rely on a misrepresentation.”)
Wisconsin         Ramsden v. Farm Credit Services of North Central Wisconsin ACA, 590 N.W.2d 1, 8 (Wis. Ct. App.
                  1998) (“A claim for negligent misrepresentation . . . requir[es] that . . . defendant made a factual
                  representation”).
                  Betty Andrews Revocable Trust v. Vrakas/Blum, S.C., 2008 WL 4810769, at *4 n. 12 (Wis. Ct. App.
                  Nov. 6, 2008) (whether a claim for negligent misrepresentation can arise from a failure to disclose is an
                  open question in Wisconsin) (citing Kaloti Enterprises, Inc. v. Kellogg Sales Co., 699 N.W.2d 205, 212
                  n.3 (Wis. 2005)).
